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                        EXHIBIT A TO CONSENT JUDGMENT
                         Perez v. United Floor Installers, Inc. et al
                                      1:15-cv-08195


Name                    Back Wages Due       Liquidated Damages Due     Total Due
Birk, Scott             $1,407.94            $1,407.94                  $2,815.88
Bryant, Tim             $601.93              $601.93                    $1,203.86
Burns, Bryon            $2,746.42            $2,746.42                  $5,492.84
Cain, Michael           $249.22              $249.22                    $498.44
Cain, Paul              $4,378.14            $4,378.14                  $8,756.28
Coker, Rob              $4,329.48            $4,329.48                  $8,658.96
Craven, Herb            $1,308.37            $1,308.37                  $2,616.74
Davis, Dan              $695.10              $695.10                    $1,390.20
Edmonds, Jordan         $995.39              $995.39                    $1,990.78
Gillen, Jesse           $4,393.80            $4,393.80                  $8,787.60
Graham, Jason           $1,374.91            $1,374.91                  $2,749.82
Herrick, William        $1,122.21            $1,122.21                  $2,244.42
Hightower, Lee          $111.43              $111.43                    $222.86
Hittenmiller, Bradley   $2,359.70            $2,359.70                  $4,719.40
Howe, Don               $1,254.93            $1,254.93                  $2,509.86
Hussen, Sam             $2,311.82            $2,311.82                  $4,623.64
Johnson, Karen          $1,967.66            $1,967.66                  $3,935.32
Johnson, Kyle           $1,582.51            $1,582.51                  $3,165.02
LuGrain, Carl           $261.73              $261.73                    $523.46
Nickolay, Mike          $92.64               $92.64                     $185.28
Pattera, Larry          $40.08               $40.08                     $80.16
Perkins, Larry          $1,515.47            $1,515.47                  $3,030.94
Pfohl, Ryan             $3,602.20            $3,602.20                  $7,204.40
Schetgan, Dave          $105.16              $105.16                    $210.32
Scholtes, Mark          $205.37              $205.37                    $410.74
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Name                  Back Wages Due     Liquidated Damages Due    Total Due
Smith, Justin         $111.43            $111.43                   $222.86
Spensley, Scott       $2,693.59          $2,693.59                 $5,387.18
Wallace, Chad         $81.37             $81.37                    $162.74
TOTAL                 =$41,900.00        =$41,900.00               =$83,800.00




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